            Case 2:21-cr-00304-CDJ Document 2 Filed 10/29/21 Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA

                   v.
                                                        CRIMINAL NO. 21-304
 JAMES TURNER


                                    NOTICE OF HEARING

       TAKE NOTICE that defendant is scheduled for a Arraignment/Guilty Plea Hearing
on Tuesday, November 23, 2021 at 12:00 p.m. before the Honorable C. Darnell Jones II in
courtroom 15B in the United States District Court, United States Courthouse, 601 Market Street,
Philadelphia, Pennsylvania 19106.

☐ Detained Federal Inmate: The U.S. Marshal shall have the defendant present for this court
proceeding.

☒ Bail Status: The defendant is on bail. A Court Security Officer shall be assigned to this
proceeding.

☒ Court Summons: This Notice serves as a summons to appear in court. If the defendant is on
bail or supervision and fails to appear as directed, the presiding judge may issue a bench warrant.

☐ Interpreter: A               interpreter will be required for the defendant.

For additional information, please contact the undersigned.


By:                                                   /s/ Leesa B. Ciamaichelo
                                                      Deputy to Judge C. Darnell Jones II
                                                      Phone: (267) 299-7759

Date: October 29, 2021

cc - via U.S. mail:                                           Defendant
cc - via email:                                               J. Capone, Esquire
                                                              L. Lappen, Assistant U.S. Attorney
                                                              U.S. Marshal
                                                              Probation Office
                                                              Pretrial Services
                                                              Interpreter Coordinator

crnotice (July 2021)
